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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

 UNITED STATES OF AMERICA,                        §
                                                  §
                Plaintiff,                        §
 v.                                               §            EP-16-CR-00537-DCG
                                                  §
 MICHAEL JOSEPH WESTER,                           §
                                                  §
                Defendant.                        §
                                                  §

                                  MEMORANDUM ORDER

       Before the Court is Defendant Michael Joseph Wester's "Motion for Medical Treatment"

("Motion") (ECF No. 80), filed on November 18, 2021. Therein, Wester seeks a court order

requiring the United States Marshals to immediately transfer him to the W_illiam Beaumont

Hospital for medical treatment for preexisting conditions and various injuries he asserts to have

sustained during his arrest on November 2, 2021. Because all indication is that Wester is

receiving adequate medical care, the Court DENIES Wester's Motion.

                                    I.    BACKGROUND

       Wester filed his Motion on November 18, 2021. On November 19, 2021, the Court

ordered additional briefing on Wester's requested relief. ECF No. 81. Wester filed a "Brief in

Support" of his Motion (ECF No. 84) and an "Amended Brief in Support" of his Motion (ECF

No. 85) on November 23, 2021. Wester argues that he can challenge-.by motion in his criminal

case-conditions of his confinement that interfere with his Sixth Amendment right to counsel.

Am Br. at 2. On November 29, 2021, the Government filed its "Response in Opposition to

Defendant's Motion for Medical Treatment" (ECF No. 88). The Government opposes Wester' s

Motion on the ground that Wester has not established a factual basis for his claim that he has not

received adequate medical care.

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                                               II.     ANALYSIS

         Two statutory vehicles provide a means by which a person held by the government can

challenge the conditions of their confinement: the habeas corpus statutes and 42 U.S.C. § 1983.

See Poree v. Collins, 866 F.3d 235, 243 (5th Cir. 2017). "Generally,§ 1983 suits are the proper

vehicle to attack unconstitutional conditions of confinement and prison procedures." Carson v.

Johnson, 112 F.3d 818, 820 (5th Cir. 1997); see also Palma-Salazar v. Davis, 677 F.3d 1031,

1035 (10th Cir. 2012) ("[A] prisoner who challenges the conditions of his confinement must do

so through a civil rights action."); Kruger v. Erickson, 77 F.3d 1071, 1073-74 (8th Cir. 1996)

(per curiam). Thus, the general rule is that persons held in custody must challenge the conditions

of their confinement through a civil suit. 1

         A few courts recognize a narrow exception to this general rule. The Seventh Circuit has

suggested that 18 U.S.C. § 3142(i)(3), which requires that an individual held pursuant to a

detention order "be afforded reasonable opportunity for private consultation with counsel,"

provides a district court with the authority "to protect a defendant's Sixth Amendment right to

counsel." Falcon v. United States Bureau ofPrisons, 52 F.3d 137, 139 (7th Cir. 1995) (noting

that the district court could "order [the defendant] into the custody of a United States Marshal if

he determines that such action is necessary for preparation of his defense"). A few district courts

agree. Accordingly, those courts find it within their authority to rule on a motion, filed in a

criminal case, that challenges conditions of confinement that impair a defendant's Sixth

Amendment right to counsel. See, e.g., United States v. Folse, No. CR 15-2485 JB, CR 15-3883

JB, 2016 WL 3996386, at *17-19 (Jun. 15, 2016) (collecting cases); United States v. Martinez-



          1 A properly filed civil suit challenging conditions of confinement also has the benefit of putting on notice

the institution that is holding a defendant of the alleged inadequate conditions. See United States v. Martinez-
Hernandez, No. 3:15-cr-00075 (JAF), 2015 WL 6133050, at *I (D.P.R. Oct. 15, 2015).

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Hernandez, No. 3:15-cr-00075 (JAF), 2015 WL 6133050 (D.P.R. Oct. 15, 2015); United States

v. Williams, No. 3:09-00090, 2009 WL 4824940 (M.D. Tenn. Oct. 26, 2009) (citing 18 U.S.C. §

3141, et seq. and 28 U.S.C. §§ 1651 and 1361 as sources of the court's authority).

         Without taking any position on the propriety of this narrow exception, the Court

concludes that the cases adopting the exception are distinguishable from this one. For example,

in Falcon, the defendant's attorney had to travel about 2,000 miles roundtrip to meet with the

defendant. 52 F.3d at 138. In Martinez, the court exercised its authority under section 3142(i)(3)

where defendants had limited time each day with their attorneys and "only because [the] moving

Defendants[] face[d] the death penalty and death is different." 2015 WL 6133050 at *4-5, 8-11

(emphasis m·original). And in Williams, the record was replete with evidence that the facility

where defendants were held was grossly underfeeding inmates and had no plan to address the

issue. 2009 WL 4824940 at *3-5. The conditions of confinement in these cases thus strongly

supported a conclusion that the defendants' right to counsel had been interfered with.

        Here, by contrast, the facts show otherwise. The Government points out that Wester has

been taken to the hospital three times since his arrest on November 2, 2021. 2 See Govt.'s Resp.

at 2-3. Wester's brief made no mention of these hospital visits, with the exception of the one on

the day of his arrest. See Am. Br. It appears to the Court that Wester has been receiving the

medical care he requests in his Motion. 3 Where all indication is that Wester is receiving access

to adequate medical care-the lack of which is the underlying basis of Wester' s claim that his

conditions of confinement impede his Sixth Amendment right to counsel-there is no readily


        2
            The Government advises the Court that Wester was taken to the hospital on November 2, 2021, the day of
his arrest, and then again on November 18 and 22. Govt.'s Resp. at 2-3. The Government also states that, on
November 16, Wester was seen by medical staff at the facility where he is being held. Id. at 2.
          3
            The Court, however, expresses concern about Wester's apparent injuries. Under different circumstances,
if there was an indication that Wester was not receiving adequate medical care, the Court might consider whether it
has the statutory authority to order that Wester be taken to a hospital to receive adequate medical care for the
purpose of protecting his Sixth Amendment right to counsel.

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apparent reason or immediate need for the court to intervene. Thus, the appropriate avenue for

Wester to challenge the conditions of his confinement is through a separate civil action.

                                   III.   CONCLUSION

       Accordingly, IT IS ORDERED that Defendant Michael Joseph Wester's "Motion for

Medical Treatment" (ECF No. 80) is DENIED without prejudice.

       So ORDERED and SIGNED this~day of December 2021.




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